Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 1 of 194 PageID:
                                     879
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 2 of 194 PageID:
                                     880
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 3 of 194 PageID:
                                     881
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 4 of 194 PageID:
                                     882
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 5 of 194 PageID:
                                     883
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 6 of 194 PageID:
                                     884
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 7 of 194 PageID:
                                     885
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 8 of 194 PageID:
                                     886
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 9 of 194 PageID:
                                     887
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 10 of 194 PageID:
                                     888
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 11 of 194 PageID:
                                     889
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 12 of 194 PageID:
                                     890
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 13 of 194 PageID:
                                     891
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 14 of 194 PageID:
                                     892
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 15 of 194 PageID:
                                     893
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 16 of 194 PageID:
                                     894
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 17 of 194 PageID:
                                     895
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 18 of 194 PageID:
                                     896
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 19 of 194 PageID:
                                     897
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 20 of 194 PageID:
                                     898
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 21 of 194 PageID:
                                     899
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 22 of 194 PageID:
                                     900
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 23 of 194 PageID:
                                     901
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 24 of 194 PageID:
                                     902
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 25 of 194 PageID:
                                     903
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 26 of 194 PageID:
                                     904
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 27 of 194 PageID:
                                     905
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 28 of 194 PageID:
                                     906
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 29 of 194 PageID:
                                     907
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 30 of 194 PageID:
                                     908
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 31 of 194 PageID:
                                     909
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 32 of 194 PageID:
                                     910
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 33 of 194 PageID:
                                     911
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 34 of 194 PageID:
                                     912
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 35 of 194 PageID:
                                     913
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 36 of 194 PageID:
                                     914
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 37 of 194 PageID:
                                     915
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 38 of 194 PageID:
                                     916
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 39 of 194 PageID:
                                     917
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 40 of 194 PageID:
                                     918
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 41 of 194 PageID:
                                     919
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 42 of 194 PageID:
                                     920
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 43 of 194 PageID:
                                     921
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 44 of 194 PageID:
                                     922
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 45 of 194 PageID:
                                     923
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 46 of 194 PageID:
                                     924
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 47 of 194 PageID:
                                     925
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 48 of 194 PageID:
                                     926
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 49 of 194 PageID:
                                     927
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 50 of 194 PageID:
                                     928
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 51 of 194 PageID:
                                     929
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 52 of 194 PageID:
                                     930
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 53 of 194 PageID:
                                     931
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 54 of 194 PageID:
                                     932
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 55 of 194 PageID:
                                     933
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 56 of 194 PageID:
                                     934
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 57 of 194 PageID:
                                     935
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 58 of 194 PageID:
                                     936
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 59 of 194 PageID:
                                     937
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 60 of 194 PageID:
                                     938
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 61 of 194 PageID:
                                     939
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 62 of 194 PageID:
                                     940
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 63 of 194 PageID:
                                     941
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 64 of 194 PageID:
                                     942
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 65 of 194 PageID:
                                     943
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 66 of 194 PageID:
                                     944
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 67 of 194 PageID:
                                     945
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 68 of 194 PageID:
                                     946
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 69 of 194 PageID:
                                     947
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 70 of 194 PageID:
                                     948
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 71 of 194 PageID:
                                     949
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 72 of 194 PageID:
                                     950
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 73 of 194 PageID:
                                     951
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 74 of 194 PageID:
                                     952
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 75 of 194 PageID:
                                     953
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 76 of 194 PageID:
                                     954
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 77 of 194 PageID:
                                     955
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 78 of 194 PageID:
                                     956
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 79 of 194 PageID:
                                     957
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 80 of 194 PageID:
                                     958
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 81 of 194 PageID:
                                     959
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 82 of 194 PageID:
                                     960
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 83 of 194 PageID:
                                     961
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 84 of 194 PageID:
                                     962
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 85 of 194 PageID:
                                     963
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 86 of 194 PageID:
                                     964
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 87 of 194 PageID:
                                     965
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 88 of 194 PageID:
                                     966
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 89 of 194 PageID:
                                     967
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 90 of 194 PageID:
                                     968
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 91 of 194 PageID:
                                     969
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 92 of 194 PageID:
                                     970
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 93 of 194 PageID:
                                     971
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 94 of 194 PageID:
                                     972
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 95 of 194 PageID:
                                     973
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 96 of 194 PageID:
                                     974
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 97 of 194 PageID:
                                     975
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 98 of 194 PageID:
                                     976
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 99 of 194 PageID:
                                     977
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 100 of 194
                              PageID: 978
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 101 of 194
                              PageID: 979
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 102 of 194
                              PageID: 980
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 103 of 194
                              PageID: 981
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 104 of 194
                              PageID: 982
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 105 of 194
                              PageID: 983
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 106 of 194
                              PageID: 984
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 107 of 194
                              PageID: 985
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 108 of 194
                              PageID: 986
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 109 of 194
                              PageID: 987
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 110 of 194
                              PageID: 988
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 111 of 194
                              PageID: 989
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 112 of 194
                              PageID: 990
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 113 of 194
                              PageID: 991
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 114 of 194
                              PageID: 992
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 115 of 194
                              PageID: 993
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 116 of 194
                              PageID: 994
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 117 of 194
                              PageID: 995
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 118 of 194
                              PageID: 996
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 119 of 194
                              PageID: 997
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 120 of 194
                              PageID: 998
Case 2:16-cv-00168-KM-MAH   Document 54-4   Filed 08/01/16   Page 121 of 194
                              PageID: 999
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 122 of 194
                              PageID: 1000
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 123 of 194
                              PageID: 1001
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 124 of 194
                              PageID: 1002
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 125 of 194
                              PageID: 1003
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 126 of 194
                              PageID: 1004
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 127 of 194
                              PageID: 1005
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 128 of 194
                              PageID: 1006
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 129 of 194
                              PageID: 1007
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 130 of 194
                              PageID: 1008
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 131 of 194
                              PageID: 1009
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 132 of 194
                              PageID: 1010
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 133 of 194
                              PageID: 1011
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 134 of 194
                              PageID: 1012
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 135 of 194
                              PageID: 1013
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 136 of 194
                              PageID: 1014
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 137 of 194
                              PageID: 1015
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 138 of 194
                              PageID: 1016
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 139 of 194
                              PageID: 1017
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 140 of 194
                              PageID: 1018
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 141 of 194
                              PageID: 1019
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 142 of 194
                              PageID: 1020
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 143 of 194
                              PageID: 1021
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 144 of 194
                              PageID: 1022
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 145 of 194
                              PageID: 1023
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 146 of 194
                              PageID: 1024
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 147 of 194
                              PageID: 1025
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 148 of 194
                              PageID: 1026
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 149 of 194
                              PageID: 1027
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 150 of 194
                              PageID: 1028
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 151 of 194
                              PageID: 1029
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 152 of 194
                              PageID: 1030
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 153 of 194
                              PageID: 1031
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 154 of 194
                              PageID: 1032
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 155 of 194
                              PageID: 1033
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 156 of 194
                              PageID: 1034
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 157 of 194
                              PageID: 1035
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 158 of 194
                              PageID: 1036
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 159 of 194
                              PageID: 1037
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 160 of 194
                              PageID: 1038
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 161 of 194
                              PageID: 1039
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 162 of 194
                              PageID: 1040
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 163 of 194
                              PageID: 1041
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 164 of 194
                              PageID: 1042
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 165 of 194
                              PageID: 1043
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 166 of 194
                              PageID: 1044
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 167 of 194
                              PageID: 1045
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 168 of 194
                              PageID: 1046
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 169 of 194
                              PageID: 1047
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 170 of 194
                              PageID: 1048
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 171 of 194
                              PageID: 1049
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 172 of 194
                              PageID: 1050
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 173 of 194
                              PageID: 1051
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 174 of 194
                              PageID: 1052
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 175 of 194
                              PageID: 1053
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 176 of 194
                              PageID: 1054
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 177 of 194
                              PageID: 1055
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 178 of 194
                              PageID: 1056
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 179 of 194
                              PageID: 1057
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 180 of 194
                              PageID: 1058
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 181 of 194
                              PageID: 1059
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 182 of 194
                              PageID: 1060
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 183 of 194
                              PageID: 1061
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 184 of 194
                              PageID: 1062
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 185 of 194
                              PageID: 1063
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 186 of 194
                              PageID: 1064
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 187 of 194
                              PageID: 1065
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 188 of 194
                              PageID: 1066
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 189 of 194
                              PageID: 1067
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 190 of 194
                              PageID: 1068
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 191 of 194
                              PageID: 1069
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 192 of 194
                              PageID: 1070
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 193 of 194
                              PageID: 1071
Case 2:16-cv-00168-KM-MAH   Document 54-4 Filed 08/01/16   Page 194 of 194
                              PageID: 1072
